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                           EXHIBIT C
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:
                                                                      03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001

-----------------------------------------------------------------X

XXX
XXX,

                                            Plaintiff(s),            XX-CV-XXXXX (GBD)(SN)

                          -against-                                    IRAN SHORT FORM
                                                                     COMPLAINT AND DEMAND
ISLAMIC REPUBLIC OF IRAN,                                              FOR TRIAL BY JURY

                                            Defendant.

-----------------------------------------------------------------X

         Plaintiffs named herein by and through the undersigned counsel file this Short Form

Complaint against Defendant, the Islamic Republic of Iran (“Iran”), arising out of the September

11, 2001 terrorist attacks (“September 11, 2001 Terrorist Attacks”), as permitted and approved

by the Court’s Order of June ___, 2018, ECF No. _________. Each Plaintiff incorporates by

reference the specific allegations, as indicated below, of (a) the Federal Insurance and Ashton

Plaintiffs’ Amended Consolidated Complaint Against Defendant, the Islamic Republic of Iran,

ECF No. 3237, or (b) the Amended Complaint, Burnett v. Islamic Republic of Iran, No. 15-CV-

9903 (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53.

         Upon filing this Iran Short Form Complaint, each Plaintiff is deemed to have adopted all

factual and jurisdictional allegations of the complaint that has been joined as specified below; all



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causes of action contained within that complaint; all prior filings in connection with that

complaint; and all prior Orders and rulings of the Court in connection with that complaint.

       Additionally, each Plaintiff incorporates the factual allegations and findings contained in

those pleadings and orders filed at Havlish v. Bin Laden, No. 1:03-CV-9848 (GBD)(SN)

(S.D.N.Y.), ECF Nos. 263, 294, 295; In re Terrorist Attacks on September 11, 2001, 03-MDL-

1570 (GBD)(SN) (S.D.N.Y.), ECF Nos. 2430, 2431, 2432, 2433, 2473, 2515, 2516; and

evidence submitted at the proceedings before the Honorable George B. Daniels on December 15,

2011 (ECF No. 2540).

                                              VENUE

       1.      Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(b)(2) and

1391(f)(1), as a substantial part of the events giving rise to the claims asserted herein occurred in

this district. Venue is also proper in this district pursuant to 18 U.S.C. § 2334(a).

                                         JURISDICTION

       2.      Jurisdiction against the Islamic Republic of Iran is premised on the grounds set

forth in the complaints specified below, including but not limited to 28 U.S.C. § 1605(a) (tort

exception to the Foreign Sovereign Immunities Act), 28 U.S.C. § 1605A (terrorism exception to

the Foreign Sovereign Immunities Act), and 28 U.S.C. § 1605B (Justice Against Sponsors of

Terrorism Act).

                                      CAUSES OF ACTION

       3.      Each Plaintiff hereby adopts and incorporates by reference all factual allegations,

jurisdictional allegations, and jury trial demand, including all causes of action against the Islamic

Republic of Iran, as set forth in the following complaint [check only one complaint]:

               Federal Insurance and Ashton Plaintiffs’ Amended Consolidated Complaint
               Against Defendant, the Islamic Republic of Iran, ECF No. 3237
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      Amended Complaint, Burnett v. Islamic Republic of Iran, No. 15-CV-9903
      (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53

4.    In addition, each Plaintiff hereby asserts the following additional causes of action:

      Iran Short Form Complaint First Cause of Action to Recover Wrongful Death
      Damages Pursuant to 28 U.S.C. § 1605B (the Justice Against Sponsors of
      Terrorism Act or JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or
      ATA)

      As a factual basis for this cause of action, Plaintiff(s) allege that the allegations
      set forth in the complaint noted above, as well as the allegations set forth in the
      Havlish filings noted above, establish that, as set forth herein, the injuries they
      suffered arose from the September 11, 2001 Terrorist Attacks; Defendant’s role in
      the September 11, 2001 Terrorist Attacks constituted acts of international
      terrorism that violated state and federal laws pursuant to 18 U.S.C. § 2331; that
      the September 11, 2001 Terrorist Attacks constituted acts of international
      terrorism committed, planned or authorized by an organization that had been
      designated as a foreign terrorist organization under 8 U.S.C. § 1189; that the
      September 11, 2001 Terrorist Attacks violated state and federal laws pursuant to
      18 U.S.C. § 2331; and that Defendant aided and abetted, by knowingly providing
      substantial assistance, with others and/or conspired with others who committed an
      act or acts of international terrorism in violation of 18 U.S.C. § 2333 et seq.

      Iran Short Form Complaint First Cause of Action to Recover Personal Injury
      Damages Pursuant to 28 U.S.C. § 1605B (the Justice Against Sponsors of
      Terrorism Act or JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or
      ATA)

      As a factual basis for this cause of action, Plaintiff(s) allege that the allegations
      set forth in the complaint noted above, as well as the allegations set forth in the
      Havlish filings noted above, establish that, as set forth herein, the injuries they
      suffered arose from the September 11, 2001 Terrorist Attacks; Defendant’s role in
      the September 11, 2001 Terrorist Attacks constituted acts of international
      terrorism that violated state and federal laws pursuant to 18 U.S.C. § 2331; that
      the September 11, 2001 Terrorist Attacks constituted acts of international
      terrorism committed, planned or authorized by an organization that had been
      designated as a foreign terrorist organization under 8 U.S.C. § 1189; that the
      September 11, 2001 Terrorist Attacks violated state and federal laws pursuant to
      18 U.S.C. § 2331; and that Defendant aided and abetted, by knowingly providing
      substantial assistance, with others and/or conspired with others who committed an
      act or acts of international terrorism in violation of 18 U.S.C. § 2333 et seq.




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                         IDENTIFICATION OF NEW PLAINTIFFS

       5.      The following allegations and information are alleged on behalf of each

individual who is bringing this claim, as indicated on Appendix 1 to this Iran Short Form

Complaint, herein referred to as “Plaintiffs.”

               a. The citizenship/nationality of each Plaintiff is indicated at Appendix 1 to this
                  Iran Short Form Complaint.

               b. Plaintiff is entitled to recover damages on the causes of action set forth in the
                  complaint identified above, as joined by this Iran Short Form Complaint, and
                  as further asserted within this Iran Short Form Complaint.

               c. As indicated at Appendix 1, Plaintiff (i) is the estate representative of
                  someone who was killed as a result of the September 11, 2001 Terrorist
                  Attacks; (ii) is the surviving immediate family member of someone who was
                  killed as a result of the September 11, 2001 Terrorist Attacks; and/or (iii)
                  suffered physical injuries as a result of the September 11, 2001 Terrorist
                  Attacks.

               d. For those plaintiffs with personal injury claims, as indicated in Appendix 1, on
                  or after September 11, 2001, said Plaintiff was present at the Pentagon and/or
                  the World Trade Center site and/or its surroundings and/or lower Manhattan
                  and/or at an area wherein he/she was exposed to toxins as a result of the
                  terrorist attacks and was exposed to toxins from the attacks, and/or was
                  otherwise injured, and/or as otherwise alleged, as stated specifically in
                  Appendix 1.

               e. For those plaintiffs with personal injury and/or wrongful death claims, as
                  indicated in Appendix 1, as a direct, proximate and foreseeable result of
                  Defendant’s actions or inactions, Plaintiff or his or her decedent suffered
                  bodily injury and/or death, and consequently economic and other losses,
                  including but not limited to pain and suffering, emotional distress,
                  psychological injuries, and loss of enjoyment of life, and/or as described in the
                  Iran Short Form Complaint, and/or as otherwise may be specified in
                  subsequent discovery proceedings, and/or as otherwise alleged in Appendix 1.

               f. The name, relationship to the injured and/or deceased September 11 victim,
                  residency, citizenship/nationality, and the general nature of the claim for each
                  plaintiff asserting wrongful death and/or solatium claims is listed on the
                  attached Appendix 1, and is incorporated herein as allegations, with all
                  allegations of the related complaints, as specified above, deemed alleged as to
                  each Plaintiff.


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                          IDENTIFICATION OF THE DEFENDANT

       6.      The only Defendant named in this Iran Short Form Complaint is the Islamic

Republic of Iran.

                              NO WAIVER OF OTHER CLAIMS

       7.      By filing this Iran Short Form Complaint, Plaintiff(s) is/are not waiving any right

to file suit against any other potential defendants or parties.

       8.      By filing this Iran Short Form Complaint, Plaintiff(s) are not opting out of any

class that the Court may certify in the future.

                                         JURY DEMAND

       9.      Each Plaintiff hereby demands a trial by jury as to the claims in this action.



       WHEREFORE, Plaintiffs pray for relief and judgment against Defendant as set forth in

this Iran Short Form Complaint as appropriate.



Dated: ____________________



                                                       Respectfully submitted,



                                                       ____________________________________

                                                       COUNSEL FOR PLAINTIFFS




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                                                  APPENDIX 1

        Each line below is deemed an allegation, incorporating the allegations, language, and

references within the Iran Short Form Complaint to which this Appendix 1 is appended and shall

be referenced as Allegation 1 of Appendix 1 to the Iran Short Form Complaint, Allegation 2 of

Appendix 1 to the Iran Short Form Complaint, etc.

     Plaintiff’s     Plaintiff’s   Plaintiff’s     9/11         Plaintiff’s    9/11           Nature of
     Name            State of      Citizenship/    Decedent’s   Relationship   Decedent’s     Claim
     (alphabetical   Residency     Nationality     Full Name    to 9/11        Citizenship/   (wrongful
     by last name)   at Filing     on 9/11/2001                 Decedent       Nationality    death,
                     (or death)                                                on 9/11/2001   solatium,
                                                                                              personal
                                                                                              injury)
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